Case 8:19-cr-00061-JVS Document 272 Filed 09/11/20 Page1of2 Page ID #:3828
H. Dean Steward SBN 85317

107 Avenida miramar, Ste. C

San Clemente, CA 92672

949-481-4900

Attorney for Defendant Michael Avenatti

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

UNITED STATES CASE NUMBER:
PLAINTIFE(S) SA-CR-19-61-JVS
Vv.
MICHAEL J. AVENATTI NOTICE OF MANUAL FILING
OR LODGING
DEFENDANT(S).
PLEASE TAKE NOTICE:

Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually Filed [_] Lodged: (List Documents)

DECLARATION OF DR. RAMZI ASFOUR

Reason:
Under Seal

In Camera

L]
L] Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
C] Per Court order dated:

[| Other:

9-11-20 /s./ H. Dean Steward

 

Date Attorney Name

Michael J. Avenatti

 

Party Represented

Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).

 

G-92 (05/15) NOTICE OF MANUAL FILING OR LODGING
CS Oo IN Do AH FSP WY YN

DO NO WP NO NHN NY NY NY HF HF Fe Fe RFR Re Re RR
S SBR BK YS Ce RD AaKR anes

 

ase 8:19-cr-00061-JVS Document 272 Filed 09/11/20 Page 2of2 Page ID #:3829

CERTIFICATE OF SERVICE

I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of age.
My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672.

I am not a party to the above entitled action. I have caused, on 9-11-20, service
of the defendant’s:
NOTICE OF UNDER SEAL FILING

On the following party, using the court’s ECF system:

AUSA’s Brett Sagel & Julian Andre

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 9-11-20
s/ H. Dean Steward

H. Dean Steward

 

 
